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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
                                              :
                                              :       CRIMINAL NO. 22-cr-200 (APM)
               v.                             :
                                              :
PETER K. NAVARRO,                             :
                                              :
                       Defendant.             :

 UNITED STATES’ OPPOSITION TO DEFENDANT’S MOTION FOR A NEW TRIAL

        A jury in the District of Columbia convicted Defendant Peter K. Navarro of two counts of

Contempt of Congress because he intentionally defied a Congressional subpoena. Now, he asks

the Court to take extraordinary action and declare a mistrial pursuant to Federal Rule of Criminal

Procedure 33 without any legal or factual basis. This Court should deny the Defendant’s baseless

motion.

   I.      Legal Standards Governing Defendant’s Rule 33 Motion

        Pursuant to Rule 33, a court may “vacate any judgment and grant a new trial if the interest

of justice so requires.” Fed. R. Crim. P. 33. Motions for a new trial are “not favored and are viewed

with great caution.” United States v. Borda, 786 F. Supp. 2d 25, 31 (D.D.C. 2011) (internal

citations omitted). “Despite the court’s broad authority to order a new trial, it should be exercised

sparingly and limited to situations presenting a serious danger that a miscarriage of justice has

occurred—that is, that an innocent person has been convicted.” Id. at 32 (cleaned up).

        “A mistrial is a severe remedy – a step to be avoided whenever possible, and one to be

taken only in circumstances manifesting a necessity therefor. In deciding whether a mistrial is

warranted, the single most important factor for the district court to consider is the extent to which
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the defendant was prejudiced.” United States v. Clarke, 24 F.3d 257, 270 (D.C. Cir. 1994) (internal

citations and quotations omitted). The Defendant bears the burden of proof to demonstrate that a

new trial is warranted. United States v. Mangieri, 694 F.2d 1270, 1285 (D.C. Cir. 1982).

    II.      Procedural Background Relevant to Defendant’s Motion

          The jury returned its guilty verdict on September 7, 2023. During deliberations and before

returning its verdict, the jury took a short break outside the entrance to the Courthouse located in

John Marshall Park. Before the verdict was returned, in a manner unspecified, the Defendant

learned that the jury had taken this break. 9/7/23 Trial Tr. at 687. After the verdict was returned

and the jury dismissed, but before the parties were dismissed, the Defendant asked the Court to

declare a mistrial because, “there’s a number of protesters right now standing outside the John

Marshall side of the courthouse. They have signs that talk about January 6th. There are people

that are shouting concerning January 6th…it’s impossible for us to know what influence that, if

anything, had on the verdict that they apparently reached upon coming into the building.” 1 9/7/23

Trial Tr. at 687.

          The Court held a hearing on the Defendant’s motion on September 13, 2023. At the

hearing, the Court heard testimony from Court Security Officer (CSO) Rosa Toldan Torres, and

admitted into evidence Defense Exhibit 1 (Photo of Jurors with CSO outside the Courthouse).

9/13/23 Hrg. Tr. at 26 (admitting Defense Exhibit 1, but not Defense Exhibits 2-4). The Court

also provided the parties with footage from a YouTube video containing no time stamps (“Jericho




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  The Defendant, by his own admissions, learned of the jury’s break before the verdict was
returned. Had the Defendant also learned of the alleged protestors before the verdict was returned,
then his delinquency in bringing the matter to the Court’s attention only after the verdict deprived
the Court of the opportunity to remind the jurors of the Court’s instruction to base its decision only
on the evidence admitted at trial. Such a strategic decision also provides a basis for this Court to
treat the Defendant’s mistrial argument as waived.


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Video”), and footage from two Court Security cameras (“Cam 01 Video” and “CS CSt-JM

Video”). 2

           The Defendant filed a written motion in support of his oral mistrial request on October 6,

2023. Because the Defendant’s written motion references disputed facts not in the record, the

Court ordered the Defendant to “produce by October 11, 2023, the evidence he contends ‘confirms’

and makes ‘undisputed’ that protestors were actually present in the John Marshall Park, and

carrying the signs he identifies, when the jurors took their break on the afternoon of September 7,

2023.” See October 10, 2023, Minute Order.

           On October 11, 2023, the Defendant filed supplemental briefing. ECF No. 141. The

briefing references two videos. One of them is the Jericho Video previously provided by the Court.

The other video was identified by the Defendant as available at https://rumble.com/v3oe44g-pool-

cam-footage-just-prior-to-and-during-navarro-press-conference-post-ver.html. As of October 27,

2023, when viewed by the Government, this unauthenticated video essentially begins with footage

of the Defendant’s post-verdict press conference, after the juror break that is the subject of the

Defendant’s motion. Thus, it tells one little, if anything, about what the jurors observed during

their break.

    III.      Facts Relevant to Defendant’s Motion

           On September 7, 2023, before the verdict was returned, the jury took a short break in John

Marshall Park, located on the west side of the Courthouse. They were escorted by a CSO Torres.

She testified that the jurors had requested a break for fresh air. 9/13/23 Hrg. Tr. at 6. CSO Torres

took the jurors outside and confirmed that Defense Exhibit 1 depicts her doing so. Id. at 6, 15. She



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  Information provided to law enforcement suggests that the person who filmed the Jericho Video
is an individual known to a one-time assistant of the Defendant; law enforcement, to-date, has not
evaluated that claim.


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escorted them, “to the John Marshall Park area, away from everybody, away from the media, and

anybody else that was there at the time.” Id. Specifically, she took them to the right side of the

building up a ramp. Id. at 7-8. According to CSO Torres, the jurors were outside for approximately

10-15 minutes. She was with them the entire time, observed them the entire time, and escorted

them back into the building. Id. at 10-11. Not once did anyone approach the jurors or say anything

directed at them. Id. at 6-7, 10. Moreover, the jurors did not display their juror badges on them

during the break. Id. at 7.

       When CSO Torres first exited the building, she observed members of the news media with

cameras and an individual holding an American flag. Id. at 8. There was a barrier behind them.

Id. at 25. The person with the flag also had a sign and was placed approximately 25-30 feet away

from the jurors. Id. at 9. CSO Torres did not recall what the sign said. The person did not speak

to the jurors. Id. at 10. There is no evidence in the record confirming whether the jury observed

this individual. To the extent there were other individuals or signs beyond the barrier behind the

media, according to CSO Torres, the jurors would not have been able to see them during their

break. Id. at 26.

       The Jericho Video, Cam 01 Video and CS CSt-JM Video each depict footage consistent

with CSO Torres’s testimony. The Cam 01 Video shows the jurors turning in their juror badges

and exiting the Courthouse. The CS CSt-JM Video shows the jurors standing on the ramp

described by CSO Torres. The Jericho video depicts the jurors and CSO Torres exiting the

building, and then shows them standing on the ramp to the right of the exit. At 15:17, as noted by

the Defendant, the camera pans towards the jurors who appear to be engaged only with each other;

only one juror is even arguably looking in the direction of the area where the media was set up.

During other parts of the Jericho Video a handful of people can intermittently be seen holding




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signs or wearing shirts expressing views about the events of January 6, 2021.

   IV. There is No Basis to Grant Defendant’s Motion

        Defendant Navarro has failed to meet his burden for a new trial for several reasons, not

the least of which is because there is no evidence in the record to show that the jurors saw the

purported signs and shirts, much less were influenced by them. Thus, there is no miscarriage of

justice such that the Court should grant a Rule 33 motion.

        Even had the jurors seen the signs or shirts, however, there would be no reason to disturb

the verdict. The Court repeatedly instructed the jury to not discuss the case with anyone, and avoid

media coverage, internet research, or any communications about the case. See e.g., 9/6/23 Trial

Tr. at 213. The Court also instructed the jury to consider only the evidence properly admitted in

the trial. 9/7/23 Trial. Tr. at 15. The jury is presumed to follow the Court’s instructions.

Richardson v. Marsh, 481 U.S. 200, 211 (1987).

       Further, the Defendant was convicted of contempt of Congress for defying a subpoena

issued by the Congressional Committee investigating the insurrection at the Capitol on January 6.

As the Defendant concedes, this case is not about what happened at the Capitol on January 6. See

e.g., 9/6/23 Trial Tr. at 46 (Defense Opening Statement) (“[L]adies and gentlemen, about the attack

on the Capitol? You won’t hear evidence about that. That’s not what this case is about.”). Thus,

as a threshold matter, there is no basis to conclude that any January 6 protestors, either in support

or against the insurrectionists, could have influenced the jury.

       The Defendant cites to United States v. Crews, 856 F.3d 91 (D.C. Cir. 2017) for the legal

standard this Court should apply to evaluate his mistrial claim. In Crews, the defendant objected to

testimony relating to a coconspirators’ injury, and the Circuit Court evaluated whether the testimony

was unfairly prejudicial. In doing so, the Court affirmed that a “mistrial is warranted if inadmissible

evidence is erroneously presented to the jury that is so ‘highly prejudicial’ that the jury cannot


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reasonably be expected to ignore it.” Crews, 856 F.3d at 96 (D.C. Cir. 2017). Here, there was no

inadmissible evidence presented to the jury such that this analytical framework even applies. To the

extent the jury did see the purported protestors, it is exceedingly reasonable to assume both that they

understood it was not evidence, and that they ignored it —as they were specifically instructed.

       The Defendant also cites to United States v. Campbell, 684 F.2d 141, 151 (D.C. Cir. 1982)

to argue that extraneous influences on the jury require a mistrial. ECF No. 138 at 7. Here too, the

Defendant plays fast and loose with both the facts and the law as applied to his case. In Campbell,

a “extraneous influence” was defined as:

        “[P]ublicity received and discussed in the jury room, consideration by the jury of
       evidence not admitted in court, and communications or other contact between jurors
       and third persons, including contacts with the trial judge outside the presence of
       defendant and his counsel.”

Campbell, 684 F.2d 141, 151 (D.C. Cir. 1982). There is nothing in this record indicating that there

was extraneous influence consistent with Campbell. The record is void of any evidence that the

jury discussed publicity, considered evidence not admitted, or had communication or other contact

with third persons or the trial judge.

       Defendant’s reliance on an out of circuit case, United States v. Concepcion Cueto 515 F.

2d 160 (1st Cir. 1975) is similarly misguided. In Concepcion Cueto, several jurors admitted

reading an article specifically about the defendant mid-deliberations, and others acknowledged

discussing it in the jury room. The Court ordered a new trial because of the prejudicial nature of

the article, and its timing prior to closing arguments. Id. at 164. Here, there is no evidence that

the jurors read the signs, discussed them, or that they were particularly prejudicial. Moreover, the

First Circuit suggested that an anticipatory warning not to consider media reports – exactly like

the ones given here – was the Court’s best “defense weapon” against a reversal. Concepcion Cueto,

515 F.2d 160, 164 (1st Cir. 1975).



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   V.      Conclusion

        Just as with his serial failure to support his pretrial claims about executive privilege with

even a wisp of evidence, yet again, the Defendant was offered numerous opportunities to support

his baseless claims and failed to meet his burden. The Defendant’s motion should be denied.


                                              Respectfully submitted,

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